

People v Woodburn (2021 NY Slip Op 05832)





People v Woodburn


2021 NY Slip Op 05832


Decided on October 26, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 26, 2021

Before: Gische, J.P., Webber, Mazzarelli, Shulman, Pitt, JJ. 


Ind. No. 2246/17 Appeal No. 14503 Case No. 2018-2465 

[*1]The People of the State of New York, Respondent, 
vWhitney Woodburn, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Lawrence T. Hausman of counsel), and Stroock &amp; Stroock &amp; Lavan LLP, New York (Hinako Gojima of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Shane Magnetti of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, Bronx County (George R. Villegas, J.), rendered November 27, 2017,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 26, 2021
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








